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                            UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF NEW YORK


CONTRARIAN CAPITAL MANAGEMENT,
L.L.C., CONTRARIAN CAPITAL FUND I,
L.P., CONTRARIAN DOME DU GOUTER
MASTER     FUND,   LP,    CONTRARIAN
CAPITAL     SENIOR   SECURED,    L.P.,
CONTRARIAN EM II, LP, CONTRARIAN
EMERGING MARKETS, L.P., POLONIUS
HOLDINGS, LLC, and CONTRARIAN                          Case No. 19 Civ. 11018 [rel. Nos. 19
FUNDS, L.L.C.,                                         Civ. 3123 & 18 Civ. 11940]
                    Plaintiffs,
                                                       Hon. Analisa Torres
               v.

BOLIVARIAN REPUBLIC OF VENEZUELA,

                           Defendant.



                                 [PROPOSED] JUDGMENT

       For the reasons stated in this Court’s Memorandum Opinion and Order dated October 1,

2020 (Dkt. 74):

       IT IS HEREBY ORDERED, ADJUDGED, AND DECREED that judgment is hereby

entered in favor of the following Plaintiffs and against Defendant in the following amounts:

                                                                   Accrued
                                                 Accrued
                                                                  Statutory
                                                 Coupon                             Total Owed
                                                                 Prejudgment
                               Overdue           Interest                            Through
 Plaintiff     Holding                                             Interest
                               Principal         Through                            October 15,
                                                                   Through
                                                October 15,                            2020
                                                                 October 15,
                                                   2020
                                                                     2020

Polonius       13.625%
Holdings,     Notes Due     $20,680,000.00     $8,922,558.33     $1,076,187.91    $30,678,746.24
  LLC         08/15/2018
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                                                            Accrued
                                           Accrued
                                                           Statutory
                                           Coupon                          Total Owed
                                                          Prejudgment
                            Overdue        Interest                         Through
Plaintiff     Holding                                       Interest
                            Principal      Through                         October 15,
                                                            Through
                                          October 15,                         2020
                                                          October 15,
                                             2020
                                                              2020
              13.625%
Polonius
             RegS Notes
Holdings,                 $25,319,000.00 $10,924,093.54   $1,317,601.63   $37,560,695.17
                Due
  LLC
             08/15/2018

Polonius      7.00%
Holdings,    Notes Due    $55,814,000.00 $13,175,204.78   $1,710,454.44   $70,699,659.21
  LLC        12/1/2018

Contrarian
  Capital     12.75%
  Senior     Notes Due        N/A          $71,764.08      $8,581.89       $80,345.97
 Secured,    08/23/2022
   L.P.
Contrarian
  Capital     11.75%
  Senior     Notes Due        N/A         $539,855.71      $72,550.92      $612,406.63
 Secured,    10/21/2026
   L.P.
Contrarian
              12.75%
Emerging
             Notes Due        N/A        $18,893,387.55   $2,259,359.79   $21,152,747.34
 Markets,
             08/23/2022
  L.P.

Contrarian
              9% Notes
Emerging
                Due           N/A         $455,764.44      $60,423.91      $516,188.35
 Markets,
             05/07/2023
  L.P.

Contrarian
               8.25%
Emerging
             Notes Due        N/A         $1,301,202.08   $175,955.92     $1,477,158.01
 Markets,
             10/13/2024
  L.P.




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                                                         Accrued
                                        Accrued
                                                        Statutory
                                        Coupon                          Total Owed
                                                       Prejudgment
                          Overdue       Interest                         Through
Plaintiff     Holding                                    Interest
                          Principal     Through                         October 15,
                                                         Through
                                       October 15,                         2020
                                                       October 15,
                                          2020
                                                           2020
Contrarian
              11.75%
Emerging
             Notes Due      N/A       $69,328,473.07   $9,317,016.10   $78,645,489.17
 Markets,
             10/21/2026
  L.P.

Contrarian
               9.25%
Emerging
             Notes Due      N/A        $762,057.56     $101,031.36      $863,088.92
 Markets,
             05/07/2028
  L.P.

Contrarian
              11.95%
Emerging
             Notes Due      N/A       $19,165,352.72   $2,335,894.65   $21,501,247.37
 Markets,
             08/05/2031
  L.P.

              12.75%
Contrarian
             Notes Due      N/A        $961,879.27     $115,026.03     $1,076,905.30
EM II, LP
             08/23/2022


              9% Notes
Contrarian
                Due         N/A        $61,900.00       $8,206.52       $70,106.52
EM II, LP
             05/07/2023


               8.25%
Contrarian
             Notes Due      N/A        $99,776.88       $13,492.39      $113,269.27
EM II, LP
             10/13/2024


              11.75%
Contrarian
             Notes Due      N/A       $8,863,211.04    $1,191,122.15   $10,054,333.19
EM II, LP
             10/21/2026




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                                                                  Accrued
                                                   Accrued
                                                                 Statutory
                                                   Coupon                          Total Owed
                                                                Prejudgment
                                Overdue            Interest                         Through
 Plaintiff       Holding                                          Interest
                                Principal          Through                         October 15,
                                                                  Through
                                                  October 15,                         2020
                                                                October 15,
                                                     2020
                                                                    2020

               9.25%
Contrarian
             Notes Due            N/A             $81,114.79      $10,753.96       $91,868.75
EM II, LP
             05/07/2028


              11.95%
Contrarian
             Notes Due            N/A             $41,914.63      $5,108.60        $47,023.23
EM II, LP
             08/05/2031

Contrarian
              11.75%
 Capital
             Notes Due            N/A         $9,095,688.71     $1,222,364.70     $10,318,053.41
 Fund I,
             10/21/2026
  L.P.
Contrarian
Dome du       11.75%
 Gouter      Notes Due            N/A         $2,979,234.04      $400,377.66      $3,379,611.70
 Master      10/21/2026
Fund, LP


       It is FURTHER ORDERED, ADJUDGED, AND DECREED that if this judgment is

entered after October 15, 2020, judgment is hereby ordered in favor of Plaintiffs and against

Defendant in the following amounts per day following October 15, 2020 until the date which this

judgment is entered on the docket of the Court:


     Plaintiff                    Holding                  Coupon and Prejudgment Interest
                                                                 Accruing Per Day

Polonius Holdings,           13.625% Notes Due
                                                                      $9,911.09
       LLC                       08/15/2018

Polonius Holdings,         13.625% RegS Notes Due
                                                                     $12,134.38
       LLC                       08/15/2018



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    Plaintiff                 Holding              Coupon and Prejudgment Interest
                                                         Accruing Per Day

Polonius Holdings,
                      7.00% Notes Due 12/1/2018              $13,742.82
       LLC
Contrarian Capital
 Senior Secured,     12.75% Notes Due 08/23/2022               $80.28
      L.P.
Contrarian Capital
 Senior Secured,     11.75% Notes Due 10/21/2026               $545.15
      L.P.
   Contrarian
Emerging Markets,    12.75% Notes Due 08/23/2022             $21,134.91
      L.P.
   Contrarian
Emerging Markets,     9% Notes Due 05/07/2023                  $466.18
      L.P.
   Contrarian
Emerging Markets,    8.25% Notes Due 10/13/2024               $1,305.64
      L.P.
   Contrarian
Emerging Markets,    11.75% Notes Due 10/21/2026             $70,008.56
      L.P.
   Contrarian
Emerging Markets,    9.25% Notes Due 05/07/2028                $779.48
      L.P.
   Contrarian
Emerging Markets,    11.95% Notes Due 08/05/2031             $21,103.58
      L.P.
Contrarian EM II,
                     12.75% Notes Due 08/23/2022              $1,076.00
       LP

Contrarian EM II,
                      9% Notes Due 05/07/2023                  $63.32
       LP

Contrarian EM II,
                     8.25% Notes Due 10/13/2024                $100.12
       LP

Contrarian EM II,
                     11.75% Notes Due 10/21/2026              $8,950.16
       LP

Contrarian EM II,
                     9.25% Notes Due 05/07/2028                $82.97
       LP



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     Plaintiff                   Holding                 Coupon and Prejudgment Interest
                                                               Accruing Per Day

 Contrarian EM II,
                      11.95% Notes Due 08/05/2031                       $46.15
        LP

Contrarian Capital
                      11.75% Notes Due 10/21/2026                      $9,184.91
  Fund I, L.P.
 Contrarian Dome
 du Gouter Master     11.75% Notes Due 10/21/2026                      $3,008.46
     Fund, LP


       It is FURTHER ORDERED, ADJUDGED, AND DECREED that postjudgment interest

from the date of this judgment will accrue on the amounts listed above at the rate provided by 28

U.S.C. § 1961(a).



Dated: October __, 2020                     _____________________________
       New York, New York                   Hon. Analisa Torres
                                            United States District Judge




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